AO245B [Rev. 12/03] Judgment in a Criminal Case
           Case 2:13-cr-20600-PDB-DRG ECF No. 158 filed 07/14/15
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                                            United States District Court
                                                  Eastern District of Michigan
                    United States of America                        JUDGMENT IN A CRIMINAL CASE
                               V.
                     FARID FATA, M.D.                               Case Number: 13CR20600-1
                                                                    USM Number: 48860-039
   [AKA: Fata, Farid Tanios; Fata, Farid T., Fata, Farid]
                                                                    Christopher Andreoff, Mark Kriger
                                                                    Defendant's Attorney


THE DEFENDANT:
    Pleaded guilty to count(s) 3-6; 9-17; 20; 22-23 of the Fourth Superseding Indictment..
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                      Offense Ended       Count
See page 2 for details.


  The defendant is sentenced as provided in pages 2 through 9 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984

   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    July 10, 2015
                                                                    Date of Imposition of Judgment




                                                                  s/Paul D Borman
                                                                 _________________________________________
                                                                  United States District Judge



                                                                    July 14, 2015
                                                                    Date Signed
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DEFENDANT: FARID FATA, M.D.
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                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                     Nature of Offense                         Offense Ended      Count
18 U.S.C. § 1347                    Health Care Fraud.                        08/2013            3ssss-6ssss;
                                                                                                 9ssss-17ssss
18 U.S.C. § 371                     Conspiracy to Pay and Receive Kickbacks   08/2013            20ssss
18 U.S.C. §                         Money Laundering                          5/3/2013           22ssss
1956(a)(1)(A)(i)
18 U.S.C. §                         Money Laundering                          7/2/13             23ssss
1956(a)(1)(A)(i)
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        Sheet 2 - Imprisonment
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                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
Count 3ssss: 120 months; Counts 4ssss-6ssss and 9ssss-17ssss: 120 months, to run concurrently to each other but
consecutively to all other counts; Count 20ssss: 60 months to run consecutively to all other counts; Count 22ssss: 240
months to run consecutively to all other counts; Count 23ssss: 60 months to run concurrently to all other counts. The
total period of incarceration ordered is 540 months.

The court makes the following recommendations to the Bureau of Prisons: The defendant participate in the Residential Drug
Abuse Program (RDAP); the defendant be assigned to Milan FCI.

The defendant is remanded to the custody of the United States Marshal.




                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on _______________________________ to _______________________________________ a
__________________________________________, with a certified copy of this judgment.



                                                             _________________________________________
                                                              United States Marshal


                                                             _________________________________________
                                                              Deputy United States Marshal
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        Sheet 3- Supervised Release
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DEFENDANT: FARID FATA, M.D.
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 36 months on each count, to run
concurrently.
   The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.
       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
       The defendant must comply with the standard conditions that have been adopted by this court as well as with any
  additional conditions on the attached page.
                                                  STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
  five days of each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
  officer;
  4) the defendant shall support his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
  or other acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
  controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
  convicted of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
  confiscation of any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
  enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
  without the permission of the court;
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
  defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
  notifications and to confirm the defendant's compliance with such notification requirement; and
  14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
  supervised release is mandatory for possession of a firearm.
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        Sheet 3C - Supervised Release
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                                           SPECIAL CONDITIONS OF SUPERVISION
    The defendant shall make monthly payments on any remaining balance of the:restitution, special assessment at a rate and
  schedule recommended by the Probation Department and approved by the Court.
     The defendant shall provide the probation officer access to any requested financial information.
    The defendant shall participate in a program approved by the Probation Department for mental health counseling.         If
  necessary.

  The defendant shall not use or possess alcohol.
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        Sheet 5 - Criminal Monetary Penalties
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DEFENDANT: FARID FATA, M.D.
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                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 1,600.00                      $ 0.00                               $ 0.00

The determination of restitution is deferred until a hearing is held. An Amended Judgment in a Criminal Case will be entered
after such determination.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
    TOTALS:                                                  $ 0.00                  $ 0.00




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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        Sheet 5A - Criminal Monetary Penalties
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                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
The Court waives the imposition of a fine, the costs of incarceration and the costs of supervision, due to the defendant's lack of
financial resources at present time.
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        Sheet 6 - Schedule of Payments
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                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
[A] Lump sum payment of $1,600.00 due immediately.

Unless the court has expressly ordered otherwise in the special instructions above, while in custody, the defendant shall
participate in the Inmate Financial Responsibility Program. The Court is aware of the requirements of the program and approves
of the payment schedule of this program and hereby orders the defendant's compliance. All criminal monetary penalty payments
are to be made to the Clerk of the Court, except those payments made through the Bureau of Prison's Inmate Financial
Responsibility Program.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

The defendant shall forfeit the defendant's interest in the following property to the United States:

      See detail list attached.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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        Sheet 6B - Schedule of Payments
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                                              ADDITIONAL FORFEITED PROPERTY
Pursuant to 18 U.S.C. 982, defendant shall forfeit to the United States the following property:

CURRENCY:

a)$553,513.52 in funds from Cor Clearing, bank account #86728520, in the name of Nohad Fata-Malkoum TTEE, Fata 2012
Grantor Charitable Lead Annuity Trust;

b)$3,486,024.58 in funds from Cor Clearing, bank account #13724843, in the name of Fatogemar Enterprises LLC;

c)$221,547.34 in funds from Huntington National Bank, bank account #1382102984, in the name of United Diagnostics PLLC;

d)$31,918.87 in funds from Huntington National Bank, bank account #01382103019, in the name of Michigan Radiation
Institute;

e)$46,254.01 in funds from Huntington National Bank, bank account
#01382101202, in the name of Midwest Institute of Professionals;

f)$72,745.70 in funds from Huntington National Bank, bank account #01382047793, in the name of Swan For Life Foundation;

g)$243,044.02 in funds from Huntington National Bank, bank account
#01382101192, in the name of Vital Pharmacare;

h)$159,031.55 in funds from JP Morgan Chase Bank, bank account
#849373022, held in the name of Swan For Life Foundation;

i)$3,049,304.01 in funds from Huntington National Bank, bank account #01381944334, held in the name of Michigan
Hematology-Oncology, P.C.;

j)$136,815.23 in funds from JP Morgan Chase Bank, bank account #695030288, held in the name of Michigan Hematology-
Oncology, P.C.;

k)$687,144.10 in funds from Bank of America Account #375011156856, held in the name of Michigan Hematology Oncology;

l)$264,566.07 in funds from Huntington National Bank Account #1382043629, held in the name of Swan for Life Foundation;

m)$30,388.93 in funds from CIG Corp. Account #21899934, held in the name of Swan for Life Foundation;

n)$3,228.56 in funds from COR Clearing Account #20236269, held in the name of Fata Family Foundation;

o)$161,315.06 in funds from COR Clearing Account #50018894, held in the name of Nohad Fata and Farid Fata;

VEHICLE PROCEEDS:

p)All proceeds resulting from the interlocutory sale of the 2011 Acura RDX Turbo SUV, VIN: 5J8TB1H22BA001796, which
constitute the "substitute res" for the Acura;

REAL PROPERTY PROCEEDS:

q)All net proceeds resulting from the sale of the Real Property located at 5800 Bow Pointe Drive, Clarkston, Michigan, and at
6143 Sashabaw Road, Clarkston, Michigan (approximately $1,442,232.04,), which now constitute the "substitute res" for this
real property, as more fully described in the Second Superseding Forfeiture Bill of Particulars (Dkt. #86);
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INSURANCE POLICIES:

r)John Hancock Life Insurance Company (U.S.A.) Account Number 46742037, and the cash value of this life insurance policy;

s)Hartford Life Insurance Company Account Number
VL8109128, and the cash value of this life insurance policy;

OTHER ASSETS:

t)Any and all interest that Defendant Farid Fata and Fatogemar LLC have in Generation One, as documented in CIG Corp.
Account No. 13724843;

u)Any and all interest that Defendant Farid Fata and Fatogemar LLC have in Madison Business Park, as documented in CIG
Corp. Account No. 13724843;

v)Pershing, LLC, Account No. TR6002414 held in the name of Fatogemar Enterprises, LLC;

w)Account No. 1372-4843 held in the names of "Fatogemar Enterprises LLC" and "Farid Fata" with ATEL 12, LLC;

x)Columbia Property Trust, Inc., Account No. 1001319887 (Formerly Wells REIT II Account No. 521001319887), held in the
name of Fatogemar Enterprises, LLC;

y)CIG Capital Partners LP, Account No. 1372-4843-PE, held in the name of CIG Capital Partners, LP;

z)CIG CAM LP, Account No. 1372-4843-CAM, held in the name of CIG CAM, LP;

aa)CIG Plenastrategy Fund LP, Account No. 1372-4843-Plena, held in the name of CIG Plenastrategy Fund, LP;

bb)ICON Leasing Fund Twelve, LLC Account No. 143347 held in the name of Fatogemar Enterprises, LLC;

cc)Inland American Real Estate Trust, Inc. Account No. 2812927008 held in the name of Fatogemar Enterprises, LLC; and

dd)All assets being administered in the action for the benefit of creditors, In RE Michigan Hematology-Oncology, PC, et al.,
Case No. 2013-137010, which is pending in State of Michigan In the Circuit Court for the County of Oakland (the "ABC case").

MONEY JUDGMENT:

Defendant shall pay the United States the amount of $17,601,233.00 in U.S. Currency, representing an amount of gross proceeds
obtained as a result of Defendants health care fraud violations as alleged in the Fourth Superseding Indictment for which he
stands convicted.

The Stipulated Preliminary Order of Forfeiture, entered on July 9, 2015 (Dkt. # 154), is incorporated herein by this reference.
